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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------------------------X
 LUCY YORK,

                                                      Plaintiff,                       COMPLAINT

                           -against-
                                                                                       Case No. __________
 THE CITY OF NEW YORK; NYPD OFFICER JORGE GARCIA;
 and NYPD MEMBERS JOHN AND JANE DOES 1-3,


                                                       Defendants.
 ----------------------------------------------------------------------------------X


        Plaintiff LUCY YORK, by her attorneys, COHEN & GREEN P.L.L.C. and Gideon Orion

Oliver, hereby complains of Defendants as follows:

                                     JURISDICTION AND VENUE

1. Plaintiff brings this action pursuant to 42 U.S.C. § 1983, the First, Fourth, and Fourteenth

    Amendments to the United States Constitution, and New York State and City law.

2. This Court has jurisdiction over the claims herein pursuant to 28 U.S.C. §§ 1331, 1343, and

    1367, and 42 U.S.C. § 1983.

3. Venue is proper pursuant to 28 U.S.C. § 1391, et seq., in the Eastern District of New York,

    where Plaintiff resides, Defendant City of New York has offices, and the majority of the actions

    complained of herein occurred.

4. Plaintiff timely served Notices of Claim on the municipal Defendant and complied with all

    conditions precedent to commencing an action under state law.

5. At least thirty days have elapsed since service of Plaintiff’s Notice of Claim and adjustment

    and payment thereof has been neglected or refused.
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6. This action has been initiated within one year and ninety days of the accrual of Plaintiff’s

   claims pursuant to New York State Law.

                                            PARTIES

7. At all times mentioned herein, Plaintiff, LUCY YORK (Ms. York; she/her) was a resident of

   Kings County in the City and State of New York.

8. At all relevant times mentioned herein, Defendant, City of New York was and is a municipal

   corporation duly organized and existing under and by virtue of the laws of the State of New

   York and acts by and through its agencies, employees and agents, including, but not limited

   to, the New York City Police Department (“NYPD”), and their employees.

9. At all relevant times, NYPD Officer Jorge Garcia was assigned Shield No. 284, Tax Id. No.

   938528, and Command 172. Defendant Garcia participated in arresting and assaulting Plaintiff

   as detailed below. Defendant Garcia’s name appears on Plaintiff’s Desk Appearance Ticket,

   and upon information and belief, Defendant Garcia issued that ticket.

10. Plaintiff does not currently know the names of the Doe Defendants, but their names are known

   to the Defendants.

11. Plaintiff only has the following descriptions:

           a. NYPD Members John or Jane Doe 1, cooperating with and assisting Defendant

               Garcia, grabbed Ms. York, threw her to the ground, injuring Ms. York’s right

               shoulder, right elbow, and right knee, and placed Ms. York in zip-tie plastic

               handcuffs.

           b. NYPD Members John Does 2 and 3 grabbed Ms. York and threw her against a

               vehicle.




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                   i. John Doe 2 conducted a search of Ms. York and reached inside the front of

                       Ms. York’s pants. In doing so, John Doe 2 touched and grazed against Ms.

                       York’s genitals, through her underwear, multiple times.

                   ii. John Doe 2 and 3 appeared to be wearing NYPD uniforms with white shirts.

12. Each individual Defendant is sued in his or her individual and official capacities.

13. The Defendants are NYPD members who unlawfully used excessive force, arrested, and/or

   detained Plaintiff and others similarly situated in violation of their constitutional rights.

14. At all times hereinafter mentioned, the Defendants were employed by the City of New York

   as members of the NYPD. Some of their true names, as noted throughout this Complaint, are

   currently unknown to the Plaintiff.

15. At all times hereinafter mentioned, Defendants, either personally or through their employees,

   were acting under color of state law and/or in compliance with the official rules, regulations,

   laws, statutes, customs, usages and/or practices of the State or City of New York.

16. Each and all of the acts and omissions of the Defendants alleged herein occurred while said

   Defendants were acting within the scope of their employment by the Defendant City.

17. Defendants were duly appointed and acting officers, servants, employees, and agents of

   Defendant City who were acting for, and on behalf of, and with the power and authority vested

   in them by Defendant City, and were otherwise performing and engaging in conduct incidental

   to the performance of their lawful functions in the course of their duties.

18. Defendants were each and all responsible, in whole and/or in part, for the planning for and/or

   creation, promulgation, implementation, and/or enforcement of the unconstitutional policies,

   practices and/or customs complained of herein, and/or condoned, acquiesced in, adopted,




                                                  3
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    and/or approved of the same, through their acts and/or failures to act, as set forth more fully

    below.

19. At all times relevant herein, as set forth more fully below, Defendants’ actions and/or failures

    to act were malicious, intentional, knowing, and/or with a deliberate indifference to or a

    reckless regard for the natural and probable consequences of their acts and/or omissions.

20. Although there was a reasonable opportunity to do so, at no time did any of the Defendants, or

    any other member of the NYPD, take any steps to intervene in, prevent, or otherwise limit the

    unconstitutional conduct engaged in by their fellow officers.

                                            STATEMENT OF FACTS 1

             THE SUMMER 2020 2 PROTESTS IN SUPPORT OF BLACK LIVES

21. On May 25, 2020, police killed George Floyd. Almost immediately, protests against police

    violence and in support of police accountability and the Black Lives Matter movement spread

    across the United States and the world, including here in New York City where thousands

    exercised their constitutional rights to protest.



1
 Many of the allegations below are provided not as policies that specifically harmed Plaintiff, but as context for the
harm she suffered. That is, the totally lawless atmosphere fostered by Defendants during the summer of 2020 and
beyond lead to Defendants’ apparent total disregard for Plaintiff’s — and others’ — rights.

Consider, for example, the routine use of the kettling tactic before the curfew and then holding of protesters until the
curfew was in effect, to generate supposed probable cause — and then malicious use of that supposed probable
cause to brutalize protesters — likely made the officers who arrested Plaintiff feel emboldened to make a purely
retaliatory arrest for Plaintiff’s choice to protest, and to take sexual liberties in the process. So too with the total
refusal to provide protesters a meaningful opportunity to disperse wrongly taught officers and supervisors that
arrests did not require any meaningful opportunity to disperse after an order.
2
  The protests that started during the summer of 2020 continued well past the end of 2020. Courts and parties alike
have acknowledged this, but still referred — perhaps for convenience — to the protest movement that started in the
summer of 2020 as the summer 2020 protests. See, e.g., In re NY City Policing During Summer 2020
Demonstrations, 548 F Supp 3d 383, 394 (SDNY 2021) (describing, as part of the protests that erupted in the wake
of George Floyd’s death, a protest on “January 18, 2021, Martin Luther King Day”). This complaint adopts that
convention — and therefore, references to the “2020 protests” and similar phrases should be understood to refer to
the broader protest movement that continued well into 2021 — and the response from the NYPD and the City to that
movement that similarly continued apace.
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22. In the days and weeks following Floyd’s killing, the New York City Police Department

   (“NYPD”) engaged in activities that violated the constitutional rights of individuals who were

   protesting police misconduct, including, inter alia, corralling protestors into spaces where they

   could not escape, beating protestors with batons and fists, throwing protestors to the ground,

   using pepper spray indiscriminately, and ultimately arresting many of the protestors without

   lawful justification and without fair warning. Protestors were physically restrained with tight

   handcuffs - often, but not exclusively, with plastic flex-cuffs - for excessively long period of

   time in such a manner that caused them unnecessary pain and suffering and, in some cases,

   possible serious and long-term nerve damage. They were also subjected to lengthy and

   unnecessary arrest processing that put them in dangerously close quarters, all at the height of

   the global COVID-19 pandemic.

23. The unlawful policies and practices used by Defendants against protestors included a crowd-

   control tactic known as “kettling” to corral and detain individuals who were engaged in

   peaceful protest. Defendants used kettling and similar tactics in order to impede

   constitutionally protected First Amendment activities, to conduct mass arrests without

   probable cause, and to deter those arrested and beaten, and others, from exercising their First

   Amendment rights in the future.

24. In addition, NYPD officers also targeted and arrested legal observers, medics, and other

   workers performing essential services without probable cause.

25. By contrast, these same Defendants have responded to other protests (including, in particular,

   “Blue Lives Matter” and other pro-police protests) without using the same tactics employed

   against those who protested police conduct during the racial justice protests of 2020.




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26. The police actions in this case were part of overlapping policies and practices of the City of

   New York and the NYPD which were well known to New York City Mayor Bill de Blasio,

   New York City Police Commissioner Dermot Shea, and other City policymakers. These

   overlapping policies and practices include, inter alia, the use of excessive force, false arrests,

   and excessive and unreasonable detention at certain demonstrations—particularly those that

   focus on misconduct by the NYPD—but not others. These overlapping policies and practices

   have existed for years and have often resulted in litigation.

      THE NYPD’S HISTORY OF MISHANDLING CERTAIN PROTESTS

27. The violations suffered here by Plaintiff are at the common intersection of the NYPD’s long

   history of permitting sexual misconduct by its members and its long history of aggressive and

   unconstitutional policing of certain First Amendment-protected activities going back many

   years, including, inter alia, protests denouncing the murder of Amadou Diallo in 1999, as well

   as protests against the World Economic Forum (the “WEF”) in 2002, the Iraq War in 2003, the

   Republican National Convention (“RNC”) in 2004, the Occupy Wall Street (“OWS”) protests

   in 2011 and 2012, and many other protests since, including Black Lives Matter and anti-police

   brutality protests.



                    THE COVID-19 PANDEMIC IN NEW YORK CITY

28. As protesters were taking to the streets in the summer of 2020 to speak out against police

   brutality and in support of Black lives, the COVID-19 virus raged across the country.

29. In April 2020, Governor Cuomo ordered people to wear protective face masks in public, to

   protect themselves and others from the spread of the virus.




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30. However, many police officers failed to abide by this directive to wear masks. And many

    officers who interacted with and arrested protesters in May and June of 2020 were not wearing

    face masks, even as the City continued to record hundreds of new coronavirus cases each week.

    By contrast, most protesters wore protective face masks—at least until their contacts with

    NYPD members.

31. During their arrests, some protesters masks fell off or were removed. These protesters were

    transported in vans and/or buses and placed in holding cells in close indoor contact with other

    arrestees whose masks fell off or were removed, and police officers who were not wearing

    masks.

       STATE AND CITY OFFICIAL REPORTS ON THE SUMMER 2020 PROTESTS
         RELIED ON BY PLAINTIFF, IN PART, IN SUPPORT OF PLAINTIFF’S
                       MUNICIPAL LIABILITY CLAIMS

32. In support of Plaintiff’s municipal liability claims, in part, Plaintiff relies on the contents of

    certain reports referred to in this pleading, including the New York State and New York City

    agency reports below. including, inter alia, the report issued by the New York City Corporation

    Counsel and the report issued by the New York City Department of Investigation. 3

        33.     In July 2020, the New York State Office of the Attorney General (the “AG”) issued

a preliminary report on the NYPD’s response to the May and June protests (“AG Report”). 4

        34.     The AG Report found that most complaints received by the AG were allegations

of excessive force, kettling, false arrests, and excessive force against protestors as well as similar


3
  Margaret Garnett, Commissioner, New York City Department of Investigation, Investigation into NYPD Response
to the George Floyd Protests, (“DOI Report”), Dec. 2020, available at
https://www1.nyc.gov/assets/doi/reports/pdf/2020/DOIRpt.NYPD%20Reponse.%20GeorgeFloyd%20Protests.12.18
.2020.pdf; New York City Law Department, Corporation Counsel Report Pursuant to Executive Order 58 (June 20,
2020) Directing an Analysis of Factors Impacting the George Floyd Protests in New York City (Dec. 2020) (“OCC
Report”), https://www1.nyc.gov/assets/law/downloads/pdf/ProtestReport-np.pdf.
4
  New York State Office of the Attorney General, Preliminary Report on the New York City Police Department’s
Response to the Demonstrations Following the Death of George Floyd, (“AG Report”), July 2020, available at
https://ag.ny.gov/sites/default/files/2020-nypd-report.pdf.
                                                      7
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misconduct directed at the press, National Lawyers Guild – New York City Chapter Legal

Observers, elected officials, and essential workers.

           35.     The AG Report also found the pervasive failure of NYPD officers to wear

protective face coverings to protect themselves and others against the spread of COVID-19.

           36.     In December of 2020, the NYC Department of Investigation issued a report

examining the NYPD’s conduct in response to the 2020 Black Lives Matter protests (“DOI

Report”).

           37.     The DOI Report found, inter alia, that the NYPD lacked a sufficiently tailored

strategy to respond to protests, used force and tactics of crowd control that led to excessive force

and “heightened tensions,” made decisions based on intelligence that lacked “context or

proportionality,” and deployed officers who lacked sufficient training in responding to protests. 5

           38.     In addition to noting the heavy-handed response by the SRG at the 2020 protests,

the DOI Report found that officers not from SRG lacked “any recent training related to

protests.” 6

           39.     The DOI found that NYPD policies do not have specific First Amendment protest

expression policing policies and failed to distinguish policies for serious civil disorders and riots

from those applicable to peaceful First Amendment expression.

           40.     The DOI distinguished between protest facilitation and protest control, regulation,

or suppression.

           41.     The former is preferred to allow for First Amendment expression, the DOI Report

found, but the NYPD employed protest control during the 2020 protests.




5
    DOI Report at 36.
6
    Id. at 61.
                                                    8
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        42.      According to the DOI Report, between May 28 and June 5, 2020, approximately

2,047 individuals were arrested during demonstrations. 7

        43.      The DOI also found that Black arrestees were disproportionately charged with

felonies. 8

        44.      The DOI also found that “the force required to carry out a mass arrest was

disproportionate to the identified threat,” and “placed the burden of potential crime on a wide

swath of people who had no apparent connection to that potential criminal activity.” 9

        45.      According to the DOI Report, between May 28 and June 20, 2020, the CCRB had

received 1,646 protest-related allegations related to 248 incidents. 10

              SEXUAL MISCONDUCT AND ABUSE BY MEMBERS OF THE NYPD

46. Members of the NYPD have repeatedly engaged in sexually-based misconduct, violence, and

    harassment of civilians, 11 including during responses to protests such as Occupy Wall Street

    and Black Lives Matter demonstrations.

47. For example, in Perloff v City of New York et. al, 1:13-cv-04175 (KBF)(S.D.N.Y), Plaintiff

    Perloff alleged that Defendant NYPD Sergeant Catapano grabbed her breast forcefully and

    intentionally while arresting her after she initially asked him not to touch her chest. Perloff’s




7
  Id. at 26.
8
  Id. at 27.
9
  DOI Report at 56.
10
   Id. at 28.
11
   See Joshua Kaplan & Joaquin Sapien, NYPD Cops Cash in on Sex Trade Arrests with Little Evidence, While Black
and Brown New Yorkers Pay the Price, PROPUBLICA, Dec. 7, 2020, available at:
https://www.propublica.org/article/nypd-cops-cash-in-on-sex-trade-arrests-with-little-evidence-while-black-and-
brown-new-yorkers-pay-the-price; see also Joaquin Sapein, Topher Sanders & Nate Schweber, Over a Dozen Black
and Latino Men Accused a Cop of Humiliating, Invasive Strip Searches. The NYPD Kept Promoting Him.
PROPUBLICA, Sept. 10, 2020, available at: propublica.org/article/over-a-dozen-black-and-latino-men-accused-a-cop-
of-humiliating-invasive-strip-searches-the-nypd-kept-promoting-him; Natasha Lennard, In Secretive Hearing,
NYPD Cops Who Raped Brooklyn Teen in Custody Get No Jail Time, THE INTERCEPT, August 30, 2019, available at:
https://theintercept.com/2019/08/30/nypd-anna-chambers-rape-probation/.
                                                       9
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      suit stated that this conduct was consistent with widespread sexual misconduct by police at the

      Occupy Wall Street demonstration at which her assault occurred.

 48. According to Perloff’s attorney, “In his deposition, [Defendant NYPD Sergeant] Catapano

      stated that he had not received training on sex crimes since 2000 and that he believed ‘you grab

      whatever means necessary to effect an arrest.’” 12

 49. Additional lawsuits and accounts in the media similarly recognized and alleged the widespread

      use of sexual misconduct and/or battery, particularly groping the breasts of protestors, as a

      tactic by the NYPD at these demonstrations. 13

 50. In 2018, The New York City Council introduced a host of bills that mandated sexual sensitivity

      and assault investigation training for members of the NYPD in the wake of information about

      the Department’s treatment of sexual assault victims. 14

 51. However, at a Council hearing in 2021, it was clear that these issues persisted. 15

 52. The Defendants have been on notice about sexual misconduct by NYPD members and the need

      for training and discipline around these harms for years, but have failed to address these issues

      in any meaningful way.




 12
    See Christopher Robbins, OWS Protestor Who Had Her Breast Grabbed by NYPD Sergeant Gets $95,000
 Settlement, GOTHAMIST, Sep. 8, 2015, available at: https://gothamist.com/news/ows-protester-who-had-her-breast-
 grabbed-by-nypd-sergeant-gets-95k-settlement.
 13
    See, e.g., Rechtschaffer v. The City of New York, 13 Civ. 0709 (JPO) (S.D.N.Y.); Kathryn Funkhouser, The
 Silencing of Cecily McMillan, THE TOAST, April 14, 2014, available at: https://the-toast.net/2014/04/14/silencing-
 cecily-mcmillan/2/.
 14
    See New York City Council (October 18, 2021) Joint Hearing with Women and Equity and Public Safety, minutes
 and video available at: https://legistar.council.nyc.gov/MeetingDetail.aspx?ID=896997&GUID=54E40D2E-C083-
 4B1B-AB17-1328C10A783E&Search=; see John del Signore, NYPD Cop Accused of Groping His “Favorite Rape
 Victim,” GOTHAMIST, January 16, 2015, available at: https://gothamist.com/news/nypd-cop-accused-of-groping-his-
 favorite-rape-victim.
 15
    Id.
                                                        10
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 53. In fact, as in the case of Assistant Chief of NYPD Christopher McCormack, members who are

      accused of sexual misconduct often rise through the ranks. 16

 54. McCormack has been accused by more than a dozen people of humiliating and abusive sexual

      conduct, including public strip searches and forcibly inserting his fingers into their anal cavities

      during legally prohibited “searches.” 17

 55. In 2018, the Civilian Complaint Review Board (CCRB) announced that the scope of the

      problem of sexual misconduct including assault by members of the NYPD necessitated an

      expansion of CCRB rules to allow the independent oversight agency to investigate such

      complaints, and the CCRB Board adopted this change by unanimous vote in February 2018. 18

 56. For decades the CCRB had referred all sexual misconduct cases to the NYPD’s Internal Affairs

      Bureau (IAB), requiring victims of NYPD-related sexual abuse to interface entirely with the

      NYPD itself, and no information about any investigations, discipline, or outcomes were made

      public.

 57. The NYPD’s Patrolmen’s (also Police) Benevolent Association moved to block this CCRB

      expansion. 19

 58. Ultimately, after reintroducing the proposed rules in a manner consistent with the First

      Department’s holding in Lynch v Civilian Complaint Review Board, 20 the agency officially

      undertook these investigations December 2020.


 16
    See Joaquin Sapein, Topher Sanders & Nate Schweber, Over a Dozen Black and Latino Men Accused a Cop of
 Humiliating, Invasive Strip Searches. The NYPD Kept Promoting Him. PROPUBLICA, Sept. 10, 2020, available at:
 propublica.org/article/over-a-dozen-black-and-latino-men-accused-a-cop-of-humiliating-invasive-strip-searches-the-
 nypd-kept-promoting-him
 17
    Id.b
 18
    New York City Civilian Complaint Review Board, NYC Civilian Complaint Review Board Votes Unanimously
 to Investigate Allegations of NYPD Sexual Misconduct, via Press Release (February 15, 2018) available at
 https://www1.nyc.gov/assets/ccrb/downloads/pdf/about_pdf/news/pressreleases/2018/20181502_boardmtg_sexualm
 isconduct_release.pdf
 19
    Matter of Lynch v New York City Civilian Complaint Review Bd., 2020 NY Slip Op 03062 (1st Dept 2020).
 20
    Id.
                                                        11
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 59. Plaintiff incorporates by reference the information contained in the Civilian Complaint Review

     Board’s data regarding the agency’s investigations. 21

 60. According to information provided at the CCRB’s public Board Meeting on December 8, 2021,

     between the time investigations were initiated and the presentation at the December 8th

     meeting, the CCRB had received 233 complaints within its jurisdiction that included 335

     allegations of sexual misconduct by members of the NYPD, and had referred 384 sexual

     misconduct cases to the IAB and District Attorneys for potential employment and criminal

     actions. 22 Of these referred cases, 266 were considered “Phase II,” meaning they involved

     serious misconduct such as sexual assault and groping a person over their clothing. 23

  OTHER DOCUMENTS AND FACTS PLAINTIFF INCORPORATES BY REFERENCE

 61. Plaintiff incorporates by reference the facts contained in the reports that have been issued

     concerning Defendants’ responses to the summer 2020 protests, including, inter alia, the report

     issued by the New York City Corporation Counsel and the report issued by the New York City

     Department of Investigation. 24

 62. Plaintiff incorporates by reference the factual allegations in other federal civil rights

     complaints in cases pending in the United States District Court for the Southern District of

     New York arising from Defendants’ responses to the summer 2020 protests:


 21
    New York City Civilian Complaint Review Board (December 8, 2021) December 8, 2021 Public Board Meeting,
 minutes available at:
 https://www1.nyc.gov/assets/ccrb/downloads/pdf/about_pdf/board/2021/Minutes/12082021_boardmtg_minutes.pdf
 22
    December 8, 2021 CCRB Meeting Minutes at 25.
 23
    New York City Civilian Complaint Review Board, Memorandum Accompanying Public Vote (February 14, 2018)
 available at:
 https://www1.nyc.gov/assets/ccrb/downloads/pdf/policy_pdf/20181402_boardmtg_sexualmisconduct_memo.pdf
 24
    Margaret Garnett, Commissioner, New York City Department of Investigation, Investigation into NYPD Response
 to the George Floyd Protests, (“DOI Report”), Dec. 2020, available at
 https://www1.nyc.gov/assets/doi/reports/pdf/2020/DOIRpt.NYPD%20Reponse.%20GeorgeFloyd%20Protests.12.18
 .2020.pdf; New York City Law Department, Corporation Counsel Report Pursuant to Executive Order 58 (June 20,
 2020) Directing an Analysis of Factors Impacting the George Floyd Protests in New York City (Dec. 2020) (“OCC
 Report”), https://www1.nyc.gov/assets/law/downloads/pdf/ProtestReport-np.pdf.
                                                      12
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           a. Sow et al v. City of New York et al, 20-cv-00533(CM)(GWG);

           b. People of the State of New York v. City Of New York et al, 21-cv-322 (CM)(GWG);

           c. Payne et al v. De Blasio et al, 20-cv-8924 (CM)(GWG);

           d. Sierra et al v. City of New York et al, 20-cv-10291 (CM)(GWG);

           e. Wood v. De Blasio et al, 20-cv-10541 (CM)(GWG);

           f. Yates v. City of New York, et al., 21-cv-01904 (CM)(GWG);

           g. Campbell v. City of New York, 21-cv-04056 (AJN); and

           h. Gray, et al., v. City of New York, et al., 21-cv-06610 (Unassigned).

 63. Plaintiff incorporates by reference the factual allegations in other federal civil rights

    complaints in cases pending in the United States District Court for the Eastern District of New

    York arising from Defendants’ responses to the summer 2020 protests:

           i. Ezagui v. City of New York et al., 20-cv-06360 (DG)(SJB);

           j. Fraser v. City of New York et al., 20-cv-05741 (NGG)(MMH);

           k. Gelbard et al. v. City of New York et al, 20-cv-03163(MKB)(RER);

           l. Jefferey et al. v. City of New York et al., 20-cv-02843 (NGG)(RML);

           m. Richardson and Myrie v. City of New York et al., 21-cv-03609 (LDH)(SJB);

           n. Smith v. City of New York et al., 21-cv-03096 (DG)(TAM); and

           o. Zayer v. City of New York et al., 20-cv-06070 (ARR)(PK).


                            PLAINTIFF LUCY YORK’S EXPERIENCE

 64. On July 24, 2021, Ms. York attended a protest at or near 1083 Broadway in Brooklyn, NY,

    demonstrating against the NYPD’s eviction of a mutual aid group that was stationed at that

    address’s storefront.



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 65. Ms. York arrived at the site of the protest, which was already underway upon her arrival, at or

    around 2:00 p.m.

 66. At the time of Ms. York’s arrival, there were already NYPD members present, as well as

    several police cars on the street. The street was open to the public.

 67. Within minutes of Ms. York joining the group, additional members of the NYPD arrived on-

    scene, cordoned off the street, came onto the sidewalk, and then surrounded the group of

    protestors on all sides.

 68. NYPD played an LRAD recording stating that protesters must disperse.

 69. At that time, the majority of protesters — including Ms. York — were on the sidewalk.

 70. Ms. York was trapped and surrounded by NYPD members on the sidewalk.

 71. Ms. York could not disperse in any way — NYPD officers blocked all egress.

 72. That practice was part and parcel of a longstanding NYPD practice and training not to provide

    meaningful opportunities for anti-police protesters to disperse. See, e.g., In re N.Y.C. Policing

    During Summer 2020 Demonstrations, No. 20-cv-8924 (CM)(GWG), 2021 U.S. Dist. LEXIS

    128437, at *47 (S.D.N.Y. July 9, 2021) (describing the curfew order as “explicitly requir[ing]”

    an order to disperse before any arrests are made); Gavin v. City of N.Y., No. 20-CV-8163 (JPO),

    2021 U.S. Dist. LEXIS 159908, at *10 n.3 (S.D.N.Y. Aug. 24, 2021) (describing the “common-

    sense conclusion that [NYPD] must give protesters an opportunity to comply with their orders

    before they start making arrests” for failure to comply with those orders, and the “history of

    [NYPD] misconduct” on that front).

 73. The York Defendants were part of the group of officers surrounding or participating in trapping

    the group of protesters.

 74. Defendant Garcia pushed Ms. York.

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 75. Ms. York verbally expressed her inability to move to Defendant Garcia, who ignored this

    information and continued pushing Ms. York on her shoulders and chest.

 76. Ms. York walks with the assistance of a cane due for medical reasons.She had her cane with

    her on July 24th, which was visibly obvious to anyone who saw her.

 77. Because Defendant Garcia would not stop pushing her, Ms. York became acutely afraid of the

    risk of falling over.

 78. Therefore, as a last resort, Ms. York held her cane horizontally across her body to act as a

    barrier between herself and Defendant Garcia, in hopes of deterring him from continuing to

    push her.

 79. At some point, upon information and belief, an NYPD supervisor gave a command to arrest

    the protesters.

 80. Defendant Garcia and Defendant John Doe 1 grabbed Ms. York and threw her onto the street.

 81. Due to the sheer force of the assault, Ms. York lost hold of her cane and landed on the ground,

    hard, with her right elbow, right shoulder, and right knee taking the brunt of the impact.

 82. Upon information and belief, Defendant Garcia applied zip-tie plastic handcuffs to Ms. York,

    who was lying on the ground, facedown, with her hands behind her back.

 83. Initially those cuffs were applied appropriately.

 84. After being handcuffed, Ms. York was picked back up off the ground by NYPD members who

    she could not see.

 85. A few minutes later, Ms. York was slammed into the side of a car by Defendants John Does 2

    and 3.

 86. Defendant John Doe 2 then searched Ms. York inside the front of her pants, where his hand

    touched and grazed against her genitals through her underwear multiple times.

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 87. Ms. York cried and spoke up, stating that she was a transgender woman being inappropriately

    searched by male officers.

 88. Defendant John Doe 2 ignored her complaints and cries, ridiculed her, and continued his

    search.

 89. Defendant John Doe 3 did not speak or act in any way to intervene in this unlawful and invasive

    search.

 90. Defendants John Does 2 and 3 then placed Ms. York in an NYPD transport vehicle, where she

    sat waiting for approximately 30 minutes, while other arrestees were loaded in.

 91. In connection with the search and placing Ms. York in the van, in retaliation for Ms. York’s

    complaints (based upon the timing, which permits an inference of causation), the Doe

    Defendants punitively tightened the cuffs in an extraordinarily tight manner.

 92. The Doe Defendants failed to place their finger in the cuffs to ensure sufficient space.

 93. Both using tightened cuffs as a punishment, and failing to use a finger-spacing technique while

    applying or tightening cuffs, violate written NYPD policy.

 94. However, both actions were consistent with and based upon the de facto practice of using

    flexcuffs as a means of punishment during the 2020 protests, as described elsewhere herein.

 95. Immediately, Ms. York began to lose feeling in her hands.

 96. Ms. York immediately experienced escalating discomfort and excruciating pain from the

    excessive tightness of the cuffs.

 97. Ms. York repeatedly stated that the handcuffs were on too tight.

 98. Upon information and belief, the Doe Defendants who applied them and other Does heard

    those complaints.

 99. Those Doe Defendants chose to ignore those complaints.

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 100.   Ignoring complaints that cuffs are too tight violates written NYPD policy.

 101.   Written NYPD policy provides that when an arrestee complains about handcuff tightness,

    an officer must either replace/loosen flexcuffs, or switch to metal handcuffs if they believe the

    arrestee is not being cooperative and/or being deceptive.

 102.   NYPD practice during the 2020 protest was not to supply individual officers with the tools

    needed to loosen or remove flexcuffs.

 103.   Ms. York was fortunate enough not to contract COVID-19 from anyone she was forced to

    be in close contact with on the van — though she faced stress, fear, and other emotional damage

    from the careless way Defendants exposed her to a deadly virus.

 104.   It was stifling hot inside the vehicle as the temperature outside was in the 90s that day and

    the air conditioning in the van was not turned on.

 105.   Ms. York was eventually taken to the 72nd precinct in East New York.

 106.   The 72nd precinct is a place of public accommodation.

 107.   After waiting in line to be checked in, Ms. York was fingerprinted, photographed, and

    brought to a cell, where she remained for several hours.

 108.   While at the 72nd precinct, a man was brought into her cell, despite Ms. York making it

    explicitly clear that she identified as — and is — a woman.

 109.   Transgender women, as a matter of fact and law, are women.

 110.   Ms. York is a woman.

 111.   Throughout the course of Ms. York’s arrest, despite her making it clear that she identified

    as and is a woman, NYPD members misgendered Ms. York by using he/him pronouns to

    describe her.




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 112.    While she waited to be released, Ms. York repeatedly asked members of the NYPD for

      water because she felt severely dehydrated and began experiencing nausea as well as a

      pounding headache.

 113.    Despite multiple requests, she was only given a single, small cup of water.

 114.    At or around 11:00 p.m., Ms. York was released with a Desk Appearance Ticket.

 115.    Ms. York was later advised that the criminal charges pending against her were adjourned

      in contemplation of dismissal, and eventually dismissed.

 116.    The Defendants’ conduct directly and proximately caused physical and emotional injury to

      Ms. York, including anxiety and damage to her wrists, right knee, right elbow, and right

      shoulder.

        NYPD’S PERMISSIVE RESPONSE TO PRO-POLICE AND OTHER, SIMILAR
                              DEMONSTRATIONS

 117.    The NYPD’s violent response to this protest against police brutality was dramatically

      different from their response to other kinds of protests and rallies.

 118.     On July 11, 2020, pro-police demonstrators held a “Rally to Back the Blue” in Dyker

      Heights, Brooklyn. Pro-police marchers yelled at and antagonized counter-protestors, making

      racist and sexist statements, grabbing them, and spitting in counter protestors’ faces. The

      NYPD made no arrests at the rally. 25

 119.    On July 13, 2020, pro-police “Blue Lives Matter” groups held a march in Bay Ridge,

      Brooklyn. The march was attended by counter protestors organized against police brutality.

      Though members of the pro-police group shouted racist and homophobic slurs at the counter

      protesters and assaulted them in view of NYPD officers, only two people were arrested – both


 25
   Sydney Pereira, Videos Show Pro-Police demonstrators in Brooklyn Unleashing Racist, Sexist Vitriol Against
 Counter-Protestors, Gothamist, July 12, 2020, available at https://gothamist.com/news/police-rally-back-the-blue-
 brooklyn-dyker-heights.
                                                         18
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      Black men protesting police brutality. By contrast, a Blue Lives Matter demonstrator who

      punched a woman in the face in view of NYPD officers was not arrested. 26

 120.     In October 2020, hundreds of members of the ultra-Orthodox Jewish community in

      Brooklyn gathered in Borough Park to protest coronavirus restrictions imposed by Governor

      Cuomo. The protestors set fires in the street and threw masks into the flames. They chased

      away NYC Sheriff’s Deputies and attacked a photojournalist reporting on the protest. An ultra-

      Orthodox Jewish man who opposed the protestors was attacked by protestors and beaten with

      rocks. Police said that no arrests or summons were issued to the protestors on the night of the

      rally. 27

 121.     On October 25, 2020, a group called Jews For Trump convoyed hundreds of cars draped

      with American flags and Trump 2020 banners. The caravan traveled from Coney Island to the

      Trump Tower in Manhattan before heading to a rally in a Brooklyn park. Despite engaging in

      acts of disorder during this caravan, this rolling group of pro-Trump agitators was allowed to

      continue unhindered by the NYPD. 28

 122.     On November 1, 2020, a coalition of Trump supporters in a vehicle caravan were escorted

      through New York City despite blocking numerous bridges and committing acts of violence.

      One bystander attempted to photograph an obscured license plate of a vehicle in the caravan,

      but the driver of the vehicle drove into her and police threw her to the ground. 29


 26
    Jake Offenhartz and Gwynne Hogan, “They Defend Their Own Side”: NYPD Accused of Protecting Blue Lives
 Matter Marchers in Bay Ridge, Gothamist, July 13, 2020, available at https://gothamist.com/news/nypd-accused-
 protecting-violent-blue-lives-matter-marchers-bay-ridge.
 27
    Jake Offenhartz, Orthodox Borough Park Residents Burn Masks, Beat Dissenters Over COVID Lockdown,
 Gothamist, Oct. 7, 2020, available at https://gothamist.com/news/orthodox-borough-park-residents-burn-masks-
 beat-dissenters-over-covid-lockdown.
 28
    AP, Jews For Trump car parade stirs protests, fights across NYC, Oct. 26, 2020, available at
 https://abc7ny.com/jews-for-trump-times-square-protest-today-in-riot/7343862/
 29
    Jake Offenhartz, Photos: Police Stand By As Caravans Of Trump Supporters Block Bridges, Gothamist, Nov. 2,
 2020, Threaten Counter-Protesters, available at https://gothamist.com/news/photos-police-stand-caravan-trump-
 supporters-block-bridges-threaten-counter-protesters
                                                       19
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 123.    On December 2, 2020, hundreds gathered in Staten Island to demand the reopening of a

      bar that was closed for violating the heath regulations related to COVID-19. Protestors blocked

      traffic and hundreds gathered on the streets and sidewalks. Though NYPD deputies were

      stationed outside the bar, it was reported that no arrests or summons were issued. 3031

 124.    The NYPD has a history of treating even right-wing extremists more permissively. This

      pattern can be observed from the 1990s to the present.

             a. In the early 1990s the NYPD stood by and took no action when a group of
                skinheads attacked a group of peaceful demonstrators. Dwares v. City of New
                York, 985 F.2d 94 (2d Cir. 1993).

             b. In 1992, the Patrolmen’s Benevolent Association, egged on by mayoral candidate
                Rudy Giuliani, held a demonstration at City Hall Park in response to Mayor
                Dinkins’s call for a Civilian Complaint Review Board. This led to one of the
                biggest riots in New York City history. On-duty police officers who were present
                did little to stop it, and even encouraged it, despite the fact that the off-duty
                rioting officers blocked the Brooklyn Bridge, stormed City Hall, committed acts
                of vandalism, and assaulted bystanders. 32, 33

             c. More recently, the NYPD has turned a blind eye to violence committed by the
                Proud Boys and other neo-Nazi groups. In one such instance in October of 2018, a
                mob of uniformed Proud Boys and right-wing skinheads cried homophobic slurs
                and kicked and stomped a person laying on the sidewalk. NYPD officers observed
                the violence, but did not intervene to stop it. Instead, the NYPD was more
                concerned with controlling left-wing activists. 34 During this incident three left
                wing activists were arrested but not a single Proud Boy was questioned or
                arrested. Proud Boy leader Gavin McInnes boasted about the incident that the
                group had support from “[t]ons of cops, I have a lot of support in the NYPD…” 35
 30
    Wilson Wong, Hundreds protest closing of Staten Island bar that refused Covid-19 measures, NBC NEWS, Dec.
 3, 2020, available at https://www.nbcnews.com/news/us-news/hundreds-protest-closing-staten-island-bar-refused-
 covid-19-measures-n1249873
 31
    NBC News 4, Staten Island Bar Reopens, Defying City and State COVID Orders Once Again, December 5, 2020,
 available at https://www.nbcnewyork.com/news/coronavirus/staten-island-bar-reopens-defying-city-and-state-covid-
 orders-once-again/2762850/
 32
    Nat Hentoff and Nick Hentoff, Rudy’s Racist Rants: An NYPD History Lesson, Cato.org, July 14, 2016, available
 at https://www.cato.org/commentary/rudys-racist-rants-nypd-history-lesson
 33
    Pamela Oliver, When the NYPD Rioted, University of Wisconsin – Madison, July 18, 2020, available at
 https://www.ssc.wisc.edu/soc/racepoliticsjustice/2020/07/18/when-the-nypd-rioted/
 34
    Jake Offenhartz, NYPD Accused Of 'Incredibly Deferential Treatment' Of Proud Boys Following Beatings Caught
 On Video, available at, https://gothamist.com/news/nypd-accused-of-incredibly-deferential-treatment-of-proud-
 boys-following-beatings-caught-on-video
 35
    Jake Offenhartz, Proud Boys Leader: 'I Have A Lot Of Support In The NYPD', Gothamist, Oct. 15, 2018,
 https://gothamist.com/news/proud-boys-leader-i-have-a-lot-of-support-in-the-nypd
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         THE NYPD’S HISTORY OF MISHANDLING CERTAIN PROTESTS

 125.    The extensive deprivations of constitutional rights suffered by Plaintiff here are part of the

      NYPD’s long history of aggressive and unconstitutional policing of certain First Amendment-

      protected activities going back many years, including, inter alia, protests denouncing the

      murder of Amadou Diallo in 1999, as well as protests against the World Economic Forum (the

      “WEF”) in 2002, the Iraq War in 2003, the Republican National Convention (“RNC”) in 2004,

      the Occupy Wall Street (“OWS”) protests in 2011 and 2012, and many other protests since,

      including Black Lives Matter and anti-police brutality protests.

 126.    The NYPD response to the protests in New York City the summer of 2020 was in line with

      its history of violent and unconstitutional responses to past protests challenging police conduct

      in New York City, including its treatment of certain First Amendment assemblies with

      demoralizing and brutal shows of force, rather than genuine efforts to facilitate protesters’

      protected First Amendment activity.

 127.    For example, the NYPD met protests following the start of the Iraq War in 2003 with mass

      arrests, excessive force, use of pepper spray, riding horses into crowds and batons strikes to

      disperse protestors, and kettling to move protestors from specific locations to effectuate mass

      arrests.36

 128.    The next year, during the police “Operation Overlord II” operation in response to the

      Republican National Convention in 2004, NYPD members treated protestors to similar uses of

      kettling tactics, excessive force and mass arrests, and excessive and unreasonable detention.37



 36
    See, e.g., N.Y. Civil Liberties Union, Arresting Protest (2003), available at
 https://www.nyclu.org/sites/default/files/nyclu_arresting_protest.pdf.
 37
    See, e.g., N.Y. Civil Liberties Union, Rights and Wrongs at the RNC (2005), available at
 https://www.nyclu.org/sites/default/files/publications/nyclu_pub_rights_wrongs_rnc.pdf.
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 129.       The NYPD continued to employ similar mass arrest and excessive force tactics during a

        years-long crackdown on Critical Mass bicycle rides beginning in 2004.38

 130.       Similarly, during the Occupy Wall Street (“OWS”) protests in 2011, the NYPD used

        excessive force against protestors, bystanders, and National Lawyers Guild – New York City

        Chapter Legal Observers, as well as kettling tactics to move protestors or initiate mass

        arrests.39

 131.       Additionally, Defendants have employed the same tactics and practices against Black Lives

        Matter, police accountability, and other, similar protests, over the intervening years.

 132.       Following NYPD conduct during these and other protests, the City of New York and the

        NYPD and its members have been sued repeatedly by protestors who alleged that they had

        been unlawfully detained, kettled, arrested, subjected to mass arrest, unreasonable and

        prolonger detentions and violations of their First Amendment and other, related rights, much

        in the same manner as has the Plaintiff in this case.

 133.       In many of these cases Defendants employed tactics developed and modified over the

        course of many years by Defendants Shea, Monahan, and their predecessors and by other

        defendant City policymakers at and in connection with other demonstrations in the City dating

        back to around 2000 and continuing through the present, including the policies, practices, and

        customs complained of herein, and also described and litigated in the following cases:

            a.       Mandal v. City of New York., 02-cv-1234 (WHP)(FM) (S.D.N.Y.) and related
                     cases challenging NYPD’s written and unwritten policies and practices enacted
                     after the police shooting of Amadou Diallo in 1999 and formalized in writing as
                     early as 2001. As a result of these policies, the NYPD began detaining and fully
                     processing people arrested for non-criminal violations who were otherwise
                     eligible to be processed and released with Desk Appearance Tickets (“DATs”).
                     See, e.g., “Mandal I,” No. 02-cv-1234 (WHP), 02-cv-1367 (WHP), 02-cv-6537

 38
      See, e.g., Callaghan v. City of New York, 07 Civ. 9611 (PKC)(JLC) (S.D.N.Y.).
 39
      See People of the State of New York v. City of New York et al., 21-cv-0322, Dkt. No. 1 at ¶ 26 (S.D.N.Y.).
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             (WHP), 2006 WL 2950235, at *4-7 (S.D.N.Y. Oct. 17, 2006) (denying summary
             judgment on plaintiffs’ Fourteenth Amendment Equal Protection and First
             Amendment-based claims that the policies “constituted facial violations of
             [plaintiffs’] First Amendment rights because they were denied DATs or
             summonses based on the fact that they participated in demonstrations”); Mandal
             v. City of New York (“Mandal II”), No. 02-cv-1234 (WHP), 02-cv-1367 (WHP),
             2007 WL 3376897, at *2 (S.D.N.Y. Nov. 13, 2007) (“Mandal II”) (noting that
             approximately 38 Mandal plaintiffs prevailed at trial on claims that “the City had
             an unconstitutional written policy of denying persons arrested at demonstrations
             individual consideration for summonses and DATs”);


       b.    Burley v. City of New York, 03-cv-2915 (WHP)(FM) 2005 WL 668789 (S.D.N.Y.
             March 23, 2005) (class action arising from mass arrests of over 200
             demonstrators during 2002 WEF in New York City challenging, inter alia, (1)
             NYPD policy of detaining perceived protesters who were otherwise eligible to be
             released earlier with DATs for excessive periods of time and denying them
             consideration for DAT release on the grounds of their perceived participation in
             protests and (2) policy and practice of using plastic flex cuffs as unreasonable and
             excessive because of the manner in which the handcuffs were applied and the
             length of time for plaintiffs were handcuffed);

       c.    Allen v. City of New York, 466 F. Supp. 2d 545, 546 (S.D.N.Y. 2006) (challenging
             mass arrests made in February 2002 related to the WEF alleging, inter alia, that
             the protestors remained on the sidewalk, walking two abreast and followed all
             rules of protesting, yet Executive Officers including Defendant Monahan, arrested
             them and “the police deliberately held [protesters] in custody for an unnecessarily
             long period of time in order to delay their arraignment in Criminal Court”;

       d.    Haus v. City of New York, 03-cv-4915 (RWS)(MHD) 2006 WL 1148680, *1
             (S.D.N.Y. April 24, 2006) (class action challenging arrests, detentions, and
             prosecutions of around 300 people in connection with February 15, 2003 anti-war
             protests, alleging that arrests were made without probable cause and pursuant to
             Department directive to “engage in pre-emptive mass arrests and to subject
             arrestees to delayed and arduous post-arrest processing.” See also Larsen v. City
             of New York, et al., 04-cv-0665 (RWS) (S.D.N.Y.);

       e.    Kunstler v. City of New York, 04-cv-1145 (RWS)(MHD) (S.D.N.Y.) and other
             related cases arising from alleged false and retaliatory arrests in connection with
             police responses to protests on April 7, 2003, raising Monell and other claims
             similar and related to the policies and practices complained of herein such as
             encircling protesters, striking them with nightsticks, and using extremely tight
             plastic handcuffs in their arrest;

       f.    MacNamara v. City of New York, 04-cv-9216 (RJS)(JCF) (S.D.N.Y.) (including
             the Second Amended Class Action Complaint, Dkt. No. 200-2), Abdell. v. City of
                                              23
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                 New York, 05-cv-8453 (RJS)(JCF) (S.D.N.Y.), Schiller. v. City of New York, 04-
                 cv-7922 (RJS) (JCF) (S.D.N.Y.), Dinler v. City of New York, 04-cv-7921
                 (RJS)(JCS) (S.D.N.Y.), Kyne v. Wolfowitz, 06-cv-2041 (RJS)(JCF) (S.D.N.Y.)
                 (including the Second Amended Complaint, Dkt. No. 18), and the dozens of other
                 cases consolidated for discovery purposes in the S.D.N.Y. arising from arrests
                 made, and policies related to, the RNC in New York City in 2004. See, e.g.,
                 Schiller, No. 04-cv-7922 (RJS)(JCF), 2008 WL 200021 at *2-5 (S.D.N.Y. Jan.
                 23, 2008) (noting the City’s consent to amendment of complaints in RNC cases to
                 add, inter alia, “constitutional challenges to the defendants’ alleged practice of
                 detaining . . . all persons in connection with the RNC . . . no matter how minor the
                 infraction, rather than issuing summonses on the street”); MacNamara v. City of
                 New York, 275 F.R.D. 125, 154 (S.D.N.Y. 2011) (certifying six “mass arrest
                 subclasses” as well as an “Excessive Detention Class” comprised of all RNC
                 arrestees who were processed pursuant to the RNC Mass Arrest Processing Plan
                 and a “Conditions of Confinement Class, comprising all RNC arrestees who were
                 handcuffed with plastic flex cuffs[.]”); Dinler, No. 04-cv-7921 (RJS)(JCF), 2012
                 WL 4513352, at *13-15 (S.D.N.Y. Sept. 30, 2012) (granting plaintiffs’ motions
                 for summary judgment on their false arrest claims related to hundreds of people
                 mass arrested at 2004 RNC in connection with a War Resisters League march and
                 denying defendants’ cross-motion on false arrest claims);

         g.      Callaghan v. City of New York, 07-cv-9611 (PKC)(JLC) (S.D.N.Y.) (including
                 the Third Amended Complaint, Dkt. No. 14) (multi-plaintiff litigation challenging
                 mass arrest policies, practices, and incidents related to post-2004 RNC Critical
                 Mass crackdown spanning several years, pleading Monell claims virtually
                 identical to the core Monell claims pleaded herein));

         h.      Osterhoudt v. City of New York, et al., No. 10-cv-3173 (RJC)(RML), 2012 WL
                 4481927, at *1-2, (E.D.N.Y. Sept. 27, 2012) (and the Second Amended
                 Complaint and Demand for Jury Trial, Dkt. No. 22) (denying defendants’ motion
                 to dismiss Monell claims where plaintiff, who was arrested on during mass arrest
                 on election night in November 2008, cited other lawsuits against the City for
                 mass arrests at Critical Mass bike rides, the 2004 RNC, and the WEF including “a
                 number of complaints alleging that the NYPD conducted mass arrests at
                 demonstrations and in crowd control situations, plausibly alleging a widespread
                 departmental policy of arresting political demonstrators without determining
                 probable cause on an individual basis”);

         i.      Despite (then-Mayor Michael Bloomberg’s recognition that, “the majority of the
                 [OWS] protesters have been peaceful and responsible,” 40 there were more than
                 ninety civil rights actions filed in the S.D.N.Y. arising from NYPD OWS arrests
                 and related polices, including, but not limited to, the cases listed in Marisa
                 Holmes v. City of New York, et al., 14-cv-5253 (LTS) (S.D.N.Y.) (Dkt. No. 13 ¶

 40
   Michael Bloomberg, Michael Bloomberg’s Statement on the Zuccotti Park Clearance, The Guardian (Nov. 15,
 2011, 8:39 EST), http://www.guardian.co.uk/world/2011/nov/15/michael-bloomberg-statement-zuccotti-park.
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                   89) (listing by caption and docket numbers of many OWS-related cases as of
                   March 13, 2015). Some of those cases resulted in judgments and many resulted in
                   substantial settlements prior to trial including Gerskovich v. Iocco, 15-cv-7280
                   (S.D.N.Y. Berman, J.) that settled for $256,000 prior to trial, and which
                   complaint had a similar failure to train Monell claim that had been sustained
                   through Defense Rule 12 and Rule 56 motions;

          j.       In Peat v. City of New York, No. 12-cv-08230 (S.D.N.Y.), fifteen OWS plaintiffs
                   arrested on January 1, 2012, on the sidewalk in the East Village settled a case
                   with Defendant City of New York for $598,000. The settled complaint alleged
                   that plaintiffs were peacefully and lawfully protesting when executive members
                   of the NYPD blocked their path on the sidewalk, 41 encircled them on three sides
                   and a building line on the fourth side. The NYPD made dispersal announcements
                   without providing sufficient time or a path of egress as members of the scooter
                   task force blocked the protesters path of egress;

          k.       Other OWS-related cases have continued through discovery and are awaiting
                   trial, including two cases involving failure to train claims similar to those at issue
                   in this case, which are currently scheduled for trial: Packard v. City of New York
                   15-cv-7130 (S.D.N.Y.) (AT) and Case v. City of New York, 14-cv-9148
                   (S.D.N.Y.) (AT);

          l.       The Plaintiffs in Case, et al. v. City of New York, et al., 14-cv-9148 (AT)(BCM)
                   were arrested at an Occupy Wall Street protest and subjected to certain NYPD
                   large-scale arrest processing rather than being released on the street with a
                   summons as a result, including Monell claims with much in common with many
                   of those raised herein. See Case v City of NY, 233 F. Supp. 3d 372 (SDNY 2017);
                   408 F.Supp.3d 313 (SDNY 2019);

          m.       The Union Square litigations related to the mass arrests that occurred in and
                   around Union Square Park on September 24, 2011, alleged similar NYPD
                   misconduct that is alleged in this pleading, including, failure to provide
                   reasonable dispersal orders and opportunity to disperse, unnecessary and
                   excessive force used on protesters and overall efforts of the NYPD to deter and
                   demoralize protesters. Nearly all of these cases include multiple plaintiffs and
                   were all settled by the City of New York, including Clarke v NYC, 13-cv-(RWS);
                   Crisp v. NYC, 12-cv-5482(RWS); Dedrick v. NYC, 12-cv-7165(RWS); Dierken v.
                   NYC, 12-cv-7462(RWS); Elliot v. NYC, 12-cv-992(RWS); and Hanlin v. NYC,
                   12-cv-5844(RWS);

          n.       Those cases OWS related cases referenced herein, Gerskovich, Packard, Case,

 41
   In March and April 2012, NYCLU issued Free Speech Threat Assessments detailing the NYPD’s restriction on
 protester activity and engaging in a manner to obstruct protester’s ability to engage in First Amendment activity and
 identified how executive “supervising officers, at random and without warning, pointed to protesters they wanted
 arrested for disorderly conduct, unreasonable noise, resisting arrest and obstructing governmental administration.”
 https://www.nyclu.org/en/nyc-free-speech-threat-assessment.
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                Peat, the Union Square Litigations, as well as several other OWS-related cases,
                included failure to train Monell claims concerning protest activity that are similar
                to the Monell claims in this litigation;

        o.      The incidents discussed in the 2003 NYCLU special report created by the
                NYCLU in the wake of the February 15, 2003 antiwar demonstration, titled
                Arresting Protest, published April 2003, available at
                https://www.nyclu.org/sites/default/files/publications/nyclu_pub_arresting_protes
                t.pdf;

        p.      The incidents discussed in the 2005 NYCLU special report created by the
                NYCLU in the wake of protests at the RNC, titled Rights and Wrongs at the RNC,
                published in 2005, available at
                https://www.nyclu.org/sites/default/files/publications/nyclu_pub_rights_wrongs_r
                nc.pdf;


        q.      The incidents discussed in the research compiled by The Global Justice Clinic at
                the New York University School of Law and the Walter Leitner International
                Human Rights Clinic at the Leitner Center for International Law and Justice at
                Fordham Law School in their publication titled Suppressing Protest: Human
                Rights Violations in the U.S. Response to Occupy Wall Street, published July 25,
                2015, available at http://hrp.law.harvard.edu/wp-
                content/uploads/2013/06/suppressing-protest-2.pdf; and

        r.      Edrei v. City of New York, 16-cv-01652 (JMF)(BCM) (challenging NYPD uses of
                Long Range Acoustic Device (“LRAD”) against perceived “group” for crowd
                control purposes, including Monell allegations challenging many of the same
                policies and practices herein, see, e.g., First Amended Complaint at Paragraph
                415).

        THE NYPD’S FAILURE TO TRAIN REGARDING PROTEST POLICING

 134.   Since at least the 1990s, the NYPD has failed to appropriately train its officers on the proper

    handling of First Amendment assemblies, despite being on notice of serious constitutional

    deficiencies in their existing training.

 135.   In fact, the NYPD’s core training related to protest response to this day is based on crowd

    management and disorder control tactics for policing large-scale civil disorder and riots.

 136.   In 1997, the NYPD’s Disorder Control Unit (“DCU”) created the “Disorder Control

    Guidelines.”
                                                  26
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 137.   Upon information and belief, to this day, that document forms the core the NYPD protest

    response-related training.

 138.   The Disorder Control Guidelines treat disorders as military engagements and copies

    military tactics and focus on tactics designed to deter, disperse, and demoralize groups,

    including by staging overwhelming presence and force at protest activity, as well as making

    early and “pro-active” arrests, and mass arrests, using disorder control formations,

    encirclement or kettling, and other, similar tactics.

 139.   Upon information and belief, the core NYPD training, based on the Disorder Control

    Guidelines, focuses on the use of such tactics to – using the trainings’ terminology – “disperse

    and demoralize” protesters.

 140.   These disperse and demoralize tactics and trainings have persisted through the present as

    exemplified by the experiences of the Plaintiff in this case.

 141.   Upon information and belief, the Disorder Control Guidelines were never meant to be

    guidelines for the policing of lawful First Amendment assemblies such as demonstrations –

    only for large-scale civil disorder such as riots.

 142.   However, neither the Disorder Control Guidelines, nor, upon information and belief, any

    related NYPD training, contain meaningful direction on the core First, Fourth, or Fourteenth

    Amendment principles that must guide constitutional policing of First Amendment assemblies.

 143.   On information and belief, there was, and is, virtually no NYPD training—and certainly

    no meaningful NYPD training—focusing on how to utilize the tactics described in the Disorder

    Control Guidelines without infringing on the constitutional rights of protesters, such as how to

    make probable cause determinations or the requirements of providing an alternative avenue of

    protest, meaningful time and a path of egress when issuing a dispersal order, and the like.

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 144.   Defendants’ failures to train, which led to violations of Plaintiff’s rights in this case,

    include, inter alia, the following:

        a.     The failure to train, instruct, and discipline officers to discourage and prevent
               sexual abuse, misconduct, and assault by NYPD members.

        b.     The failure to make clear the need provide constitutionally meaningful dispersal
               orders and opportunities to disperse or other, similar fair warning prior to using
               force or taking other enforcement action, including, for example, the manner in
               which to inform demonstrators they must move or disperse, how many warnings
               to give before taking enforcement action, the length of time to be given in order to
               provide a meaningful opportunity to comply, and the like;

        c.     The failure to convey the clear guidance that jail support workers were essential
               workers;

        d.     The failure to make clear the need for individualized probable cause to arrest in a
               protest context;

        e.     The failure to provide training on the use of reasonable and proportionate force in
               connecting with policing First Amendment assemblies;

        f.     The failure to provide training on the need for, or tactics regarding, escort and
               facilitation of First Amendment activities, and instead focuses almost exclusively
               on tactics designed to “disperse and demoralize” protesters; and

        g.     The failure to provide training on the importance and need for NYPD members to
               wear masks during the COVID-19 pandemic, to provide masks for arrestees, and
               to allow arrestees to engage in mask-wearing, social distancing, handwashing, and
               other, similar safety measures in light of the COVID-19 pandemic.

 145.   Although many of the above problems with the NYPD’s training are endemic and cut

    across all of the relevant NYPD training, at present, Defendant City has a policy and practice

    of deploying one particularly problematic, inadequately trained, poorly supervised and

    disciplined group of NYPD members: the NYPD’s Strategic Response Group (“SRG”).

 146.   The SRG, deployed around the City at protests in 2020 including those that are the subject

    of this lawsuit, was created in 2015 as a specialized unit tasked with responding to disorder-

    causing events and to conduct counter-terrorism operations.

                                                28
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 147.    The SRG has a unit in each of the five boroughs and the DCU has now been incorporated

     into the SRG.

 148.    In response to the public’s skepticism that the SRG would be used to crack down on

     protests, then-Chief of Department James O’Neill stated: “They will not be involved in

     handling protests and demonstrations. They’ll have no role in protests. Their response is single-

     fold. They’ll be doing counter-terror work. They’ll be assigned to different posts throughout

     the city.” 42

 149.    However, since 2015, the SRG has been regularly deployed at protests, including those in

     2020 related to the present lawsuit.

 150.    Many SRG members, including many of those deployed to the protests in 2020 that are the

     subject of this lawsuit, have histories of engaging in the kinds of misconduct complained of

     herein, documented among other places, by CCRB complaints, and in numerous lawsuits. 43

 151.    SRG members are meant to have additional DCU training.

 152.    Upon information and belief, that additional DCU training is principally modelled on the

     core principles and tactics in the Disorder Control Guidelines.

 153.    However, many of the officers deployed to respond to the protests in 2020 did not even

     receive that training, which was supposedly required of them.

 154.    As a result, as noted in the OCC Report, “for a majority of the officers who were assigned

     to the George Floyd protests, their training on policing protests was limited to what they had

     received as recruits in the Academy.” 44



 42
    Ben Yakas, NYPD: Fine, Maybe We Won’t Police Protests With Machine Guns, Gothamist, Jan. 30, 2015,
 available at https://gothamist.com/news/nypd-fine-maybe-we-wont-police-protests-with-machine-guns.
 43
    Ali Winston, NYPD Unit At Center Of Protest Policing Has Dozens Of Officers With Long Misconduct Histories,
 The Appeal, Oct. 15, 2020, available at https://theappeal.org/nypd-srg-misconduct/.
 44
    OCC Report at 37.
                                                       29
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 155.     Between at least 2004 and the present, the NYPD’s mass arrest and violent crowd control

      and protest policing tactics have been on full display in the streets of New York City; the

      subjects of unfavorable coverage in the media, including coverage explicitly showing video

      evidence of NYPD members engaging in uses of excessive force in connection with crowd

      control while policing protests; documented in complaints to the Civilian Complaint Review

      Board and other agencies; as well as the litigations discussed above, which have cost the city

      tens of millions of dollars in judgments and settlements.

 156.     Indeed, in connection with the 2002 World Economic Forum and the 2004 RNC policing

      operations, NYPD supervisors - including DCU supervisors charged with designing and

      implementing NYPD protest policing-related policies and related training – routinely created

      “after action reports” that documented and critiqued NYPD plans for and responses to protest

      activities.

 157.     For example, in a March 17, 2006 New York Times article that was published while

      discovery about related policies and practices was ongoing in the 2004 RNC litigations, “Police

      Memos Say Arrest Tactics Calmed Protest,” Jim Dwyer reported on the revelation of 2002

      WEF after-action reports in then-ongoing litigation, Allen v. City of New York, 03-cv-2829

      (KMW) (GWG) (SDNY). 45

 158.     Those reports praised employing militarized tactics such as the “staging of massive

      amounts” of officers in riot gear including riot helmets and militarized “equipment” such as

      armored vehicles, prisoner wagons, and buses in view of demonstrations in order to “cause




 45
   Jim Dwyer, “Police Memos Say Arrest Tactics Calmed Protest,” N.Y. Times, March 17, 2006, available at
 https://www.nytimes.com/2006/03/17/nyregion/police-memos-say-arrest-tactics-calmed-protest.html.
                                                      30
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    them to be alarmed” and as a “deterrent” as well as the use of “proactive” arrests in order to

    have a “powerful psychological effect” on protesters.

 159.   After the 2002 WEF after-action reports were disclosed in Allen and the 2004 RNC-related

    after-action reports were disclosed in the RNC litigations, and some of them were made public

    as a result, upon information and belief, rather than continuing to create such reports frankly

    documenting and assessing the NYPD’s protest policing-related policies and tactics, the NYPD

    opted to stop creating such records.

 160.   For example, according to the Corporation Counsel’s report, NYPD records do not show

    any protest-related after action reviews undertaken between the 2004 Republican National

    Convention until the events of the George Floyd protests.

 161.   Nevertheless, upon information and belief, at all times relevant herein, City officials

    including de Blasio, Shea, Monahan, and other defendant City policymakers, routinely

    received reports regarding arrests made in connection with First Amendment assemblies,

    including through internal reports such as Unusual Occurrence Reports; Mass Arrest Reports

    including data tracking arrestees, the length of time it took them to go through the system,

    whether they were released with a summons or DAT, their proposed arrest charges, and other

    information related to the status and/or dispositions of the cases; internal critiques from

    supervisors and other officers involved in mass arrests related to police actions taken in relation

    to an event; and/or other reports including information arrests, use of force protest arrest

    processing, and/or related prosecutions.

 162.   Despite the wealth of evidence of NYPD members’ historical brutality against protesters,

    Defendant City has ignored, and/or failed to utilize, relevant information, including




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        information gleaned from reports and lawsuits, as well as other data points, to identify

        deficiencies in NYPD training as it relates to constitutionally compliant protest policing.

 163.       For example, in a deposition in Packard v. City of New York, 15-cv-7130 (S.D.N.Y.) (AT),

        a witness for the City of New York testified that in regard to protest police training it did not

        review (i) decline to prosecute decisions, (ii) conviction conversion rates or (iii) allegations

        and settlements in lawsuits relating to protest.

 164.       As another example, Defendant City apparently does not take allegations in lawsuits filed

        by protesters claiming they were falsely arrested during protests into account in considering its

        protest policing-related policies and training, in effect taking the position that there is nothing

        to be learned from lawsuits and settlements.

 165.       For example, in a 2017 deposition, a Fed. R. Civ. P. 30(b)(6) witness designated to testify

        on sidewalk policy protesting, dispersal orders, and training on probable cause standards for

        crimes commonly charged in protest policing by the Defendant City could identify no impact

        that litigation against Defendant City between 2000 and 2011 had on Defendant City’s relevant

        policies, practices, customs, or NYPD training.

 166.       Relatedly, according to the Corporation Counsel, “the NYPD does not demonstrate a

        consistent commitment to reviewing and responding to external critiques regarding the

        policing of protests.” 46

 167.       At bottom, the NYPD’s near-exclusive focus on deterring, dispersing, and demoralizing in

        trainings related to policing protests, coupled with the failure to train on specific, relevant

        aspects of constitutional policing of protests, let alone how to encourage or facilitate protests—

        despite having received clear notice that NYPD policing of protests has caused the systemic


 46
      OCC Report at 2, 30.
                                                      32
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    violations of protesters’ constitutional rights for years—demonstrates both a history and a

    policy, of disregard for the First Amendment, Fourth Amendment, Fourteenth Amendment,

    and other, related rights of Plaintiff and other similarly injured protesters.

                 THE NYPD’S POLICY AND/OR PRACTICE
   OF USING EXCESSIVE FORCE TO CONTROL THE SPEECH OF PROTESTORS

 168.    Defendants used types and levels of force that were excessive and unnecessary force

    against the Plaintiff.

 169.    In many cases, those uses of force were in contravention of, or inconsistent with, related,

    written NYPD policies and/or training.

 170.    In many cases, Defendants failed to document, and/or require that fellow Defendants

    and/or other fellow officers document, uses of force in accordance with related NYPD policies

    and/or training.

 171.    In many cases, Defendants used force against Plaintiff based on her position in or proximity

    to a perceived group, as well as the perception that she would be providing aid to that group,

    without first having given the perceived group clearly communicated prior notice as well as a

    meaningful opportunity to comply with police orders and/or dissociate with the perceived

    group.

 172.    In many cases, Defendants used types of force that they knew, or should have known,

    would impact numerous people at one time, and/or cause lasting pain, suffering, and/or injury,

    without making individualized or otherwise appropriate determinations about whether those

    uses of force were necessary, justified, or reasonable under the circumstances.


                DEFENDANT CITY’S POLICIES AND PRACTICES
        REGARDING ARRESTS—INCLUDING MASS ARRESTS—WITHOUT FAIR
                               WARNING

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 173.      Defendant City had a policy, practice, and/or custom in the summer of 2020 of engaging

    in arrests, including mass arrests, without first providing fair warning.

           174.   Defendant City had a policy, practice, and/or custom in the summer of 2020 in

 engaging in arrests, including mass arrests, for purported violations of the Curfew Orders,

 without first having provided a clearly communicated and lawful dispersal order, followed by a

 meaningful opportunity to disperse, and an actual refusal to disperse, prior to taking enforcement

 action.

           175.   In many cases, even where NYPD members did give dispersal orders, they did not

 then provide a means of egress or other meaningful opportunity to comply.

 176.      In some cases, like Plaintiff’s, Defendants seized protesters and those associated with them,

    based on the perception that they were part of a perceived group, without having made an

    individualized determination that there was probable cause to arrest the Plaintiff in question

    based on her own, individual conduct, as opposed to the perceived “group conduct” — or based

    on perception that people like Plaintiff were associated with those advancing an anti-police

    message, which Defendants intended to chill.

 177.      In some cases, like Plaintiff’s, Defendants failed to give constitutionally meaningful and

    adequate dispersal orders and meaningful opportunities to disperse prior to making arrests

    where such notice and opportunity were required.

 178.      That enforcement was consistent with widespread NYPD policy, practice, and/or custom

    related to the 2020 protests.

 179.      Additionally, in some cases, like Plaintiff’s, Defendants enforced other provisions of New

    York law against Plaintiff and other perceived protesters without probable cause and/or




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    without first having given constitutionally meaningful and adequate dispersal orders and

    meaningful opportunities to disperse prior to making such arrests.

 180.   In some cases, Defendants employed a crowd control tactic in which Defendants pushed

    and/or corralled and/or otherwise physically trapped perceived groups including Plaintiff and

    other perceived protesters, including by kettling, without first having given Plaintiff and the

    others so pushed and/or corralled and/or trapped meaningful notice and an opportunity to

    disperse or otherwise change their conduct in order to avoid being so pushed and/or corralled

    and/or trapped.

   DEFENDANTS’ PROTEST ARREST PROCESSING POLICIES AND PRACTICES

 181.   Because Defendants arrested Plaintiff and other arrestees in connection with a protest,

    Defendants subjected them to Defendants’ Protest Arrest Processing Policies, which involved,

    among other components, placing Plaintiff and other arrestees in flex-cuffs or overtight metal

    cuffs and removing them from the street to a centralized arrest processing location such as a

    Mass Arrest Processing Center (“MAPC”), where Defendants subject them to large-scale arrest

    processing procedures and Mass Arrest Processing Plan (“MAPP”) rather than issuing them

    summonses, and releasing them from custody, on the street.

 182.   Additionally, as a result, instead of detaining Plaintiff and other arrestees for a relatively

    brief period of time on the street, issuing them summonses, and releasing them, Defendants

    subjected Plaintiff to overtight metal handcuffing as well as unreasonably lengthy, onerous

    arrest processing, significantly increasing the amount of time they would otherwise have been

    in custody and exposing them to inappropriate and especially hazardous conditions of

    confinement, as well as searches of their persons and property, and/or seizures and/or




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    retentions of their property without adequate pre- or post-deprivation notice and/or opportunity

    to be heard to challenge the grounds for seizing and/or retaining the property.

 183.   In some cases, NYPD members destroyed and/or damaged property belonging to Plaintiff

    and other arrestees.

 184.   In other cases, NYPD members seized and retained property from arrestees without

    providing them with the NYPD paperwork required by NYPD policies, practices, and

    procedures to retrieve property seized by NYPD members.

 185.   In still other cases, NYPD members seized and retained property without providing

    arrestees with a meaningful opportunity to retrieve it, for example because the location at

    which Defendants were retaining the property was closed.

 186.   Beyond that, in some cases, Defendants arrested arrestees, including Plaintiff, for alleged

    offenses which New York Criminal Procedure Law § 150.20 required them to grant Plaintiff

    summonses on the street in lieu of a fuller or lengthier detention; and/or in connection with

    which, under the NYPD policies and practices that are applied in non-protest contexts,

    arrestees are taken directly to a nearby local precinct, and released in an average of between

    around two and four hours with a C-Summons.

 187.   The conditions of Plaintiff’s confinement were unsafe and overcrowded, particularly in the

    context of the COVID-19 pandemic, and/or filthy and/or unsanitary; and lacked appropriate

    access to phone calls, food, water, bathrooms soap and/or hand sanitizer, other hygienic

    products such as tampons, and/or other basic necessities.

 188.   With particular respect to the COVID-19 pandemic, during Plaintiff’s confinements, the

    State of New York, and Defendant City, had advised people to comply with social distancing,

    to wear masks, and to engage in practices such as hand-washing; and Defendant City, as well

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    as Defendants Shea, Monahan, and other NYPD members, enforced Executive Orders issued

    by Mayor de Blasio requiring people to engage in social distancing and/or mask-wearing, all

    on an emergency basis.

 189.   However, as part of Defendants’ Protest Arrest Processing Policies and MAPP, instead of

    detaining Plaintiff and other arrestees for a relatively brief period of time on the street, issuing

    them summonses, and releasing them, Defendants transported Plaintiff to a MAPC or other

    centralized arrest processing location, in close, forced proximity to other arrestees and NYPD

    members, many of whom were not wearing masks, rendering social distancing impossible.

 190.   Relatedly, many Defendants and other nearby NYPD members were not wearing masks

    while arresting and/or using force on and/or detaining Plaintiff.

 191.   Also relatedly, Defendants and other NYPD members removed masks many Plaintiff and

    other arrestees who had masks at one point prior to or during their arrests or detentions.

 192.   Also as part of Defendants’ Protest Arrest Processing Policies and MAPP, Defendants

    subjected Plaintiff and other arrestees to conditions of confinement in which they were unable

    to wash their hands or otherwise engage in other, similar hygienic practices that the State and

    City were recommending for public health and safety.

 193.   Defendants knew or should have known that, as a result of subjecting Plaintiff to

    Defendants’ Protest Arrest Processing Policies and MAPP, they would deprive Plaintiff and

    other arrestees of basic needs, including for example the need to stay safe from COVID-19, as

    well as unreasonable risks of serious damage to their physical and/or mental health or safety

    through potential exposure to COVID-19.

 194.   During Plaintiff’s time in NYPD custody, Defendants deprived Plaintiff of meaningful

    access to food, bathroom, soap and other hygiene products, and other basic necessities for an

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    extended period of time, and subjected Plaintiff to filthy, crowded, and unsanitary conditions

    of confinement.

 195.   Defendants acted intentionally to impose those conditions because they subjected Plaintiff

    to Defendants’ Protest Arrest Processing Policies and MAPP.

 196.   Additionally, Defendants recklessly failed to act with reasonable care to mitigate the risks

    that the conditions posed even though they knew or should have known that they posed

    excessive risks to Plaintiff’s physical and/or mental health or safety through potential exposure

    to COVID-19.

 197.   Moreover, the risks were obvious and apparent, including based on the State and City

    policies and practices related to COVID-19 safety, and common sense.

   DEFENDANTS’ HISTORICAL FAILURES TO MONITOR AND SUPERVISE NYPD
                    MEMBERS’ PROTEST POLICING

 198.   Although Defendant City — including through and by officials like de Blasio, Shea,

    Monahan, and other policymakers — actually knew, or should have known, that NYPD

    members were engaging in or had engaged in the unconstitutional conduct complained of

    herein, they failed to monitor, supervise, and/or discipline NYPD members who directed,

    engaged in, or observed such conduct.

 199.   For example, despite statements made by de Blasio and Shea in the media indicating they

    had knowledge of events related to violence and mass arrests at the protests as they were

    unfolding, and the wealth of video and other evidence that has been widely available in the

    intervening months, upon information and belief, virtually no NYPD members have been

    meaningfully investigated or disciplined related to their conduct.

        STATE AND CITY OFFICIAL REPORTS ON THE SUMMER 2020 PROTESTS



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 200.     In July 2020, the New York State Office of the Attorney General (the “AG”) issued a

      preliminary report on the NYPD’s response to the May and June protests (“AG Report”). 47

 201.     The AG Report found that most complaints received by the AG were allegations of

      excessive force, kettling, false arrests, and excessive force against protestors as well as similar

      misconduct directed at the press, National Lawyers Guild – New York City Chapter Legal

      Observers, elected officials, and essential workers.

 202.     The AG Report also found the pervasive failure of NYPD officers to wear protective face

      coverings to protect themselves and others against the spread of COVID-19.

 203.     In December of 2020, the NYC Department of Investigation issued a report examining the

      NYPD’s conduct in response to the 2020 Black Lives Matter protests (“DOI Report”). 48

 204.     The DOI Report found, inter alia, that the NYPD lacked a sufficiently tailored strategy to

      respond to protests, used force and tactics of crowd control that led to excessive force and

      “heightened tensions,” made decisions based on intelligence that lacked “context or

      proportionality,” and deployed officers who lacked sufficient training in responding to

      protests. 49

 205.     In addition to noting the heavy-handed response by the SRG at the 2020 protests, the DOI

      Report found that officers not from SRG lacked “any recent training related to protests.” 50




 47
    New York State Office of the Attorney General, Preliminary Report on the New York City Police Department’s
 Response to the Demonstrations Following the Death of George Floyd, (“AG Report”), July 2020, available at
 https://ag.ny.gov/sites/default/files/2020-nypd-report.pdf. The Plaintiff herein incorporates by reference into this
 case the facts set forth in the AG Report.
 48
    Margaret Garnett, Commissioner, New York City Department of Investigation, Investigation into NYPD Response
 to the George Floyd Protests, (“DOI Report”), Dec. 2020, available at
 https://www1.nyc.gov/assets/doi/reports/pdf/2020/DOIRpt.NYPD%20Reponse.%20GeorgeFloyd%20Protests.12.18
 .2020.pdf.
 49
    Id. at 36.
 50
    Id. at 61.
                                                         39
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 206.    The DOI found that NYPD policies do not have specific First Amendment protest

      expression policing policies and failed to distinguish policies for serious civil disorders and

      riots from those applicable to peaceful First Amendment expression.

 207.    The DOI distinguished between protest facilitation and protest control, regulation, or

      suppression.

 208.    The former is preferred to allow for First Amendment expression, the DOI Report found,

      but the NYPD employed protest control during the 2020 protests.

 209.    According to the DOI Report, between May 28 and June 5, 2020, approximately 2,047

      individuals were arrested during demonstrations. 51

 210.    The DOI also found that Black arrestees were disproportionately charged with felonies. 52

 211.    The DOI also found that “the force required to carry out a mass arrest was disproportionate

      to the identified threat,” and “placed the burden of potential crime on a wide swath of people

      who had no apparent connection to that potential criminal activity.” 53

 212.    According to the DOI Report, between May 28 and June 20, 2020, the CCRB had received

      1,646 protest-related allegations related to 248 incidents. 54

 213.    Defendant City and NYPD leadership and policymakers knew the department and its

      officers had problems with constitutionally policing protests but failed to adequately train and

      otherwise prepare its officers to respond to the 2020 protests, prevent its officers from

      committing the same acts of misconduct, or discipline officers who engaged in such

      misconduct.

                                    FIRST CLAIM FOR RELIEF


 51
    Id. at 26.
 52
    Id. at 27.
 53
    DOI Report at 56.
 54
    Id. at 28.
                                                    40
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                                  Unlawful Seizure / False Arrest

    Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiff’s Rights Under the
           Fourth and Fourteenth Amendments to the United States Constitution

 214.   Plaintiff incorporates by reference the allegations set forth in all preceding and following

    paragraphs as if fully set forth herein.

 215.   Defendants’ seizure of the Plaintiff herein was done without any judicial warrant

    authorizing them to seize Plaintiff, was unreasonable, and was done without privilege or lawful

    justification.

 216.   Plaintiff did not consent and was conscious of her confinement by Defendants.

 217.   Defendants did not have individualized probable cause to seize, detain, or arrest Plaintiff.

 218.   As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of her federal,

    state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering, psychological

    and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and expenses;

    and/or otherwise damaged and injured Plaintiff.

 219.   The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

    reckless, and was of such a nature that punitive damages should be imposed against them.

                                 SECOND CLAIM FOR RELIEF

                                          Excessive Force

    Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiff’s Rights Under the
           Fourth and Fourteenth Amendments to the United States Constitution

 220.   Plaintiff incorporates by reference the allegations set forth in all preceding and following

    paragraphs as if fully set forth herein.

 221.   Defendants’ use of force against Plaintiff was unjustified and objectively unreasonable,

    taking into consideration the facts and circumstances that confronted Defendants.

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 222.   As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of her federal,

    state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering, psychological

    and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and expenses;

    and/or otherwise damaged and injured Plaintiff.

 223.   The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

    reckless, and was of such a nature that punitive damages should be imposed against them.

                                  THIRD CLAIM FOR RELIEF

                                      First Amendment
  Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiff’s Rights Under the First
                 and Fourteenth Amendments to the United States Constitution


 224.   Plaintiff incorporates by reference the allegations set forth in all preceding and following

    paragraphs as if fully set forth herein.

 225.   Defendants (a) imposed restrictions on such protected speech and/or conduct that violated

    Plaintiff’s First Amendment rights, including, but not limited to, in falsely arresting Plaintiff,

    in subjecting Plaintiff to excessive force, in selectively enforcing laws and regulations against

    Plaintiff, in subjecting Plaintiff to Defendants’ Protest Arrest Processing Policies, and in

    otherwise violating Plaintiff’s rights and engaging in the acts and omissions complained of

    herein.

 226.   In addition to being retaliatory, the restrictions Plaintiff complains of herein, which

    Defendants imposed on Plaintiff’s First Amendment rights to participate in, observe, and/or

    stand nearby speech, conduct, association, and/or other expressive activities protected by the

    First Amendment on the streets, were themselves regulations on Plaintiff’s protected conduct

    that:



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        a.     Were viewpoint discriminatory and/or otherwise not content-neutral, and were not
               necessary, and precisely tailored, to serve compelling governmental interests,
               and/or were not the least restrictive means readily available to serve those
               interests; or, alternately,

        b.     Were content-neutral, but lacked narrow tailoring to serve a significant
               governmental interest, in that they burdened substantially more protected speech
               and/or conduct than necessary to serve those interests, and/or failed to provide
               ample alternatives for Plaintiff’s protected expression, including in that Plaintiff’s
               abilities to communicate effectively were threatened; and/or


        c.     Afforded Defendants unbridled or otherwise inappropriately limited discretion to
               limit or deny Plaintiff’s abilities to engage in protected conduct (also raising
               constitutionally significant Due Process-based vagueness and/or overbreadth
               concerns); and/or

        d.     Amounted to the imposition of strict liability on Plaintiff for engaging in
               protected speech and/or expression.

 227.   As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of her federal,

    state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering, psychological

    and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and expenses;

    and/or otherwise damaged and injured Plaintiff.

 228.   The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

    reckless, and was of such a nature that punitive damages should be imposed against them.

                               FOURTH CLAIM FOR RELIEF

                                  First Amendment Retaliation

  Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiff’s Rights Under the First
                 and Fourteenth Amendments to the United States Constitution

 229.   Defendants retaliated against Plaintiff for engaging in speech and/or conduct protected by

    the First Amendment.

 230.   Defendants engaged in the acts and omissions complained of herein in retaliation for

    Plaintiff’s protected speech, conduct, and/or associations.
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 231.   Defendants engaged in the acts and omissions complained of herein in order to prevent

    Plaintiff from continuing to engage in such protected speech, conduct, and/or associations.

 232.   Defendants engaged in the acts and omissions complained of herein in order to prevent

    and/or discourage Plaintiff from engaging in similar protected conduct and associations in the

    future.

 233.   Additionally, as discussed elsewhere herein, Defendant City designed and/or implemented

    policies and practices pursuant to which those Defendants who implemented them subjected

    Plaintiff to violations of her First Amendment rights.

 234.   Upon information and belief, Defendants engaged in the acts and omissions complained of

    herein with respect to Plaintiff’s First Amendment-based claims—including the related

    municipal liability claims involving the adoption of policies, practices, and/or customs and/or

    related failures to train, supervise, and/or discipline—with malice.

 235.   Upon information and belief, Defendants engaged in the acts and omissions complained of

    herein with respect to Plaintiff’s First Amendment retaliation claims—including the related

    municipal liability claims involving the adoption of policies, practices, and/or customs and/or

    related failures to train, supervise, and/or discipline—in response to the perceived viewpoint

    and/or message expressed by Plaintiff.

 236.   Upon information and belief, Defendants did not subject other protesters expressing “Blue

    Lives Matter” or other, similar, pro-police messages who were similarly situated to Plaintiff in

    terms of their conduct and/or its potential public ramifications to the conduct, policies,

    practices, and/or customs complained of herein.




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 237.   Additionally, some of the offenses charged against Plaintiff, which Defendants might argue

    provided probable cause for Plaintiff’s’ arrest, were offenses that Defendants typically exercise

    their discretion not to enforce, or not to make arrests in connection with.

 238.   Plaintiff suffered actual chill, including in that Plaintiff was prevented and/or deterred from

    or impeded in participating in protected conduct on the date of and after the incident; and/or

    suffered adverse effects on her protected speech and/or conduct; and/or otherwise suffered

    some concrete harm(s).

 239.   Additionally, in many cases, Defendants apparently permitted, acquiesced in, and/or

    facilitated the speech and/or other expressive conduct in which Plaintiff was engaging, before

    suddenly using force and/or making arrests, without first having given reasonable notice that

    such force and/or arrest activity would result if Plaintiff did not conduct themselves differently

    and/or disperse, as well as a meaningful opportunity to comply.

 240.   Additionally, as discussed elsewhere herein, Defendant City designed and/or implemented

    policies and practices pursuant to which those Defendants who ordered, effected, and

    otherwise participated in arresting and detaining Plaintiff subjected Plaintiff to the violations

    of her First Amendment rights described elsewhere herein.

 241.   As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of her federal,

    state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering, psychological

    and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and expenses;

    and/or otherwise damaged and injured Plaintiff.

 242.   The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

    reckless, and was of such a nature that punitive damages should be imposed against them.

                                  FIFTH CLAIM FOR RELIEF

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                                               Due Process

 Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiff’s Rights Protected Under
           the Fifth and Fourteenth Amendments to the United States Constitution

 243.   Plaintiff incorporates by reference the allegations set forth in all preceding and following

    paragraphs as if fully set forth herein.

 244.   As described above, Defendants enforced offenses in a manner that rendered them

    constitutionally void for vagueness and/or overbroad, such that their enforcement against

    Plaintiff violated her Due Process rights, in that Defendants’ enforcement in connection with

    those offenses failed to provide and/or reflected the absence of adequately clear standards to

    guide police officials’ extremely broad discretion to arrest anyone at their whim, based on ad

    hoc determinations, often without fair warning.

 245.   Additionally, as discussed elsewhere herein, Defendants City, including by its officials like

    de Blasio, Shea, and/or Monahan, designed and/or implemented policies and practices pursuant

    to which those Defendants who ordered, effected, and otherwise participated in seizing and/or

    retaining Plaintiff’s property and/or detaining Plaintiff in the conditions as described subjected

    Plaintiff to the violations of her Due Process rights described elsewhere herein.

 246.   As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of her federal,

    state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering, psychological

    and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and expenses;

    and/or otherwise damaged and injured Plaintiff.

 247.   The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

    reckless, and was of such a nature that punitive damages should be imposed against them.

                                  SIXTH CLAIM FOR RELIEF

                          Equal Protection and Selective Enforcement
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        Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiff’s Rights Protected
             Under the Fourteenth Amendment to the United States Constitution

 248.   Plaintiff incorporates by reference the allegations set forth in all preceding and following

    paragraphs as if fully set forth herein.

 249.   As described above, in many cases, Defendants arrested Plaintiff for alleged offenses in

    connection with which C.P.L. § 150.20 required that Plaintiff receive summonses on the street

    in lieu of a fuller or lengthier detention; and/or in connection with which, under the NYPD

    policies and practices that are applied in non-protest contexts, arrestees are taken directly to a

    nearby local precinct, and released in an average of between around two and four hours with a

    summons.

 250.   However, because Defendants arrested Plaintiff and other arrestees in connection with a

    protest, Defendants subjected them to Defendants’ Protest Arrest Processing Policies, rather

    than issuing them summonses, and releasing them from custody, on the street, while

    Defendants did not apply those same Protest Arrest Processing Policies to other similarly

    situated arrestees.

 251.   Additionally, as discussed elsewhere herein, Defendant City, through officials including

    de Blasio, Shea, and/or Monahan, designed and/or implemented policies and practices pursuant

    to which those Defendants who ordered, effected, and otherwise participated in arresting

    and/or detaining and/or prosecuting Plaintiff subjected Plaintiff to the above-described

    violations of Plaintiff’s Equal Protection rights.

 252.   As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of her federal,

    state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering, psychological




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    and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and expenses;

    and/or otherwise damaged and injured Plaintiff.

 253.   The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

    reckless, and was of such a nature that punitive damages should be imposed against them.

                                SEVENTH CLAIM FOR RELIEF

                                 Deprivation of Fair Trial Rights

 Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiff’s Rights Protected Under
       the Fifth, Sixth, and Fourteenth Amendments to the United States Constitution

 254.   Plaintiff incorporates by reference the allegations set forth in all preceding and subsequent

    paragraphs as if fully set forth herein.

 255.   Defendants fabricated evidence of a material nature, likely to influence a jury’s decision,

    intentionally forwarded that evidence to prosecutors, as a result of which Plaintiff suffered

    liberty deprivations and other injuries.

 256.   As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of her federal,

    state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering, psychological

    and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and expenses;

    and/or otherwise damaged and injured Plaintiff.

 257.   The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

    reckless, and was of such a nature that punitive damages should be imposed against them.

                                 EIGHTH CLAIM FOR RELIEF

                                       Malicious Prosecution

 Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiff’s Rights Protected Under
          the Fourth and Fourteenth Amendments to the United States Constitution




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 258.   Plaintiff incorporates by reference the allegations set forth in all preceding and subsequent

    paragraphs as if fully set forth herein.

 259.   Upon information and belief, Defendants misrepresented and falsified evidence to the

    prosecutor and/or failed to make a full statement of the relevant evidence – including

    potentially exculpatory evidence - to the prosecutor.

 260.   Defendants were directly and actively involved in the initiation or prosecution of criminal

    proceedings against Plaintiff, including by supplying and creating false information to be

    included in NYPD paperwork that was included in NYPD paperwork, providing falsely sworn

    information in accusatory instruments, and/or providing false information to the prosecutor.

 261.   Defendants lacked probable cause to initiate and continue criminal proceedings against

    Plaintiff.

 262.   Defendants acted with malice in initiating criminal proceedings against Plaintiff.

 263.   Notwithstanding Defendants’ misconduct, the criminal proceedings against Plaintiff were

    favorably terminated on the merits.

 264.   As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of her federal,

    state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering, psychological

    and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and expenses;

    and/or otherwise damaged and injured Plaintiff.

 265.   The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

    reckless, and was of such a nature that punitive damages should be imposed against them.



                                  NINTH CLAIM FOR RELIEF




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                                        Municipal Liability

 Pursuant to 42 U.S.C. 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978)
   for Defendants’ Violations of Plaintiff’s Rights Under the First, Fourth, and Fourteenth
                        Amendments to the United States Constitution


 266.   Plaintiff hereby incorporates by reference the allegations set forth in all preceding and

    following paragraphs as if fully set forth herein.

 267.   The facts pleaded above describe the policies, practices, and customs Defendants subjected

    the Plaintiff to, including, but not limited to: uses of excessive force, and sexual battery, and

    unlawful detention, and unreasonable restrictions on protesters’ First Amendment-protected

    conduct, often without fair warning; employing crowd control tactics such as pushing,

    corralling, encircling, or otherwise trapping protesters, without fair warning; engaging in

    retaliatory and selective enforcement of the criminal laws against perceived participants in

    First Amendment assemblies, particularly Black Lives Matter and/or anti-police brutality

    protests, in the absence of adequately clear standards to guide police officials’ extremely broad

    discretion to arrest anyone at their whim, based on ad hoc determinations as to their perceived

    violations, without fair warning; using flex-cuffs or overtight metal cuffs for protest-related

    arrests, while failing to supply officers with protective padding and adequate numbers of

    cutting tools to loosen or remove flex-cuffs, and/or to ensure that such cutting tools are readily

    available when needed; failing to loosen or remove over-tight cuffs; and subjecting arrestees

    to lengthy detentions and lengthy detentions and arrest processing at centralized arrest

    processing locations, exposing them to searches, property seizures, and unhealthy and

    conditions of confinement, in lieu of brief street detentions.




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 268.   That set of policies and practices added up to an atmosphere of total lawlessness among

    the NYPD: open season was declared on anti-police protesters and anyone — like Plaintiff —

    who dared to associate with them.

 269.   As set out above, Defendants arrested Plaintiff entirely without probable cause.

 270.   The Defendant City’s policies — particularly as reflected in the second FINEST message

    that glossed over the notice-to-disperse requirement—were designed to encourage, and trained

    officers to engage in, such willful blindness.

 271.   The total lawless atmosphere fostered by Defendant City’s policies and practices as set out

    above sent the message to individual officers that they should feel free to make illegal arrests,

    like the arrest of Plaintiff, as long as it was connected to anti-police protesting.

 272.   All of the wrongful acts or omissions complained of herein were carried out by the

    individual named and unnamed police officer defendants pursuant to: (a) formal policies, rules,

    and procedures of Defendant City; (b) actions and decisions by Defendant City’s policymaking

    agents including, but not limited to, de Blasio, Shea, and Monahan; (c) customs, practices, and

    usage of the NYPD that are so widespread and pervasive as to constitute de facto policies

    accepted, encouraged, condoned, ratified, sanctioned, and/or enforced by Defendant City,

    through its policymaking officials; (d) Defendant City’s deliberate indifference to Plaintiff’s

    rights secured by the First, Fourth, and Fourteenth Amendments of the United States

    Constitution, as evidenced by the City’s failures, and the failures of the City’s policymaking

    agents, to train, supervise, and discipline NYPD officers, despite full knowledge of the

    officers’ wrongful acts, as described herein.

                                 TENTH CLAIM FOR RELIEF

 Violations of New York State Law Pursuant to the New York State Constitution and New York
                                    State Common Law
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 273.   Plaintiff incorporates by reference the allegations set forth in all preceding and following

    paragraphs as if fully set forth herein.

 274.   The conduct of the police officials alleged herein occurred while they were on duty and/or

    in and during the course and scope of their duties and functions as police officials, and/or while

    they were acting as agents and employees of Defendant City, clothed with and/or invoking

    state power and/or authority, and, as a result, Defendant City is liable to the Plaintiff pursuant

    to the state common law doctrine of respondeat superior.

        Violations of the New York State Constitution

 275.   Defendants, acting under color of law, violated Plaintiff’s rights pursuant to Article I, §§

    6, 8, 9, 11, and 12 of the New York State Constitution.

 276.   A damages remedy here is necessary to effectuate the purposes of Article I, §§ 6, 8, 9, 11,

    and 12 of the New York State Constitution, and appropriate to ensure full realizations of

    Plaintiff’s rights under those sections.

        Assault

 277.   Defendants committed assault within the meaning of New York common law against

    Plaintiff by intentionally placing Plaintiff in fear of imminent harmful or offensive contact.

        Battery

 278.   Defendants committed battery within the meaning of New York common law against

    Plaintiff by intentionally physically contacting Plaintiff without Plaintiff’s consent.

        False Imprisonment and Unreasonable Detention

 279.   By the actions described above, the police officials described above did falsely arrest

    and/or imprison Plaintiff within the meaning of New York common law without reasonable or


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    probable cause, illegally and without a written warrant, and without any right or authority to

    do so. Plaintiff was conscious of the confinement and it was without her consent.

        Intentional and Negligent Infliction of Emotional Distress

 280.   Plaintiff incorporates by reference the allegations set forth in all preceding paragraphs as

    if fully set forth herein.

 281.   By the actions described above, Defendants engaged in extreme and outrageous conduct,

    which intentionally and/or negligently caused severe emotional distress to Plaintiff.

 282.   The acts and conduct of the Defendants were the direct and proximate cause of injury and

    damage to Plaintiff and violated her statutory and common law rights as guaranteed by the

    laws and Constitution of the State of New York.

 283.   As a result of the foregoing, Plaintiff was deprived of her liberty, suffered specific and

    serious bodily injury, pain and suffering, psychological and emotional injury, great

    humiliation, costs and expenses, and was otherwise damaged and injured.

        Negligent Training and Supervision

 284.   Upon information and belief, Defendant City supervised, and trained the police officials

    described above.

 285.   The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

    reckless, and was of such a nature that punitive damages should be imposed against them.

        Excessive Detention

 286.   Defendants deliberately detained Plaintiff for an excessive and unreasonably prolonged

    period of time.

        Malicious Prosecution




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 287.   Defendants commenced criminal proceedings against Plaintiff maliciously and without

    probable cause.

 288.   All charges were terminated in Plaintiff’s favor.

 289.   As a result of Defendants’ acts and omissions, Defendants deprived Plaintiff of her federal,

    state, and/or other legal rights; caused Plaintiff bodily injury, pain, suffering, psychological

    and/or emotional injury, and/or humiliation; caused Plaintiff to expend costs and expenses;

    and/or otherwise damaged and injured Plaintiff.

 290.   The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or

    reckless, and was of such a nature that punitive damages should be imposed against them.

                                 ELEVENTH CLAIM FOR RELIEF

              Violations of New York State Civil Rights Law Section 40-c and 40-d

 291.   Plaintiff incorporates by reference the allegations set forth in all preceding and following

    paragraphs as if fully set forth herein.

 292.   As detailed herein, Plaintiff was subjected by Defendants to discrimination in a place of

    public accommodation because of her sex, gender identity, and/or sexual orientation.

 293.   As detailed herein, Defendants denied Plaintiff the full and equal accommodations,

    advantages, facilities, and privileges of their facilities on the basis of her sex, gender identity,

    and/or sexual orientation.

 294.   As a result of Defendants’ acts and omissions, Defendants caused Plaintiff bodily injury,

    pain, suffering, psychological and/or emotional injury, and/or humiliation; caused Plaintiff to

    expend costs and expenses; and/or otherwise damaged and injured Plaintiff.

 295.   Plaintiff is therefore entitled to, in addition to all other remedies, the statutory remedies in

    Article 4 of the Civil Rights law, including statutory damages.
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                         TWELFTH CLAIM FOR RELIEF
                VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

 296.     Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

    paragraphs of this Complaint.

 297.     New York City Administrative Code § 8-107 (4), in the context of public accommodations,

    provides as follows:

               (a) It shall be an unlawful discriminatory practice for any person,
                   being the owner, lessee, proprietor, manager, superintendent,
                   agent, or employee of any place or provider of public
                   accommodation, because of the actual or perceived . . . gender
                   . . . [or] sexual orientation . . . of any person, directly or
                   indirectly, to refuse, withhold from or deny to such person any of
                   the accommodations, advantages, facilities or privileges
                   thereof, ordirectly or indirectly, to make any declaration, publish,
                   circulate, issue, display, post or mail any written or printed
                   communication, notice or advertisement, to the effect that any of
                   the accommodations, advantages, facilities and privileges of any
                   such place or provider shall be refused, withheld from or denied
                   to any person on account of race, creed, color, national origin,
                   age, gender, disability, marital status, partnership status, sexual
                   orientation or alienage or citizenship status or that the patronage
                   or custom of any person belonging to, purporting to be, or
                   perceived to be, of any particular race, creed, color, national
                   origin, age, gender, disability, marital status, partnership status,
                   sexual orientation or alienage or citizenship status is unwelcome,
                   objectionable or not acceptable, desired or solicited.

 298.     The New York City Commissioner on Human Rights has also issued official enforcement

    guidance         on       “Gender       Identity/Gender        Expression,”       available     at

    https://www1.nyc.gov/site/cchr/law/legal-guidances-gender-identity-expression.page.           That

        guidance provides, in relevant parts:
                   “Gender discrimination is prohibited in employment, housing, public
                   accommodations, discriminatory harassment, and bias-based profiling by law
                   enforcement and exists when a person is treated ‘less well than others on account
                   of their gender.’”

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  Id., at Part III, citing Williams v. N.Y.C. Hous. Auth., 872 N.Y.S.2d 27, 39 (1st Dep’t 2009).

                 “The NYCHRL requires employers and covered entities to use the name,
                 pronouns, and title (e.g., Ms./Mrs./Mx.) with which a person self-identifies,
                 regardless of the person’s sex assigned at birth, anatomy, gender, medical
                 history, appearance, or the sex indicated on the person’s identification.”

 Id. at Part III(1) (emphasis added).

 299.   The guidance also provides, as “Examples of Violations,” among other things, “Intentional

    or repeated refusal to use a person’s name, pronouns, or title,” which should cease when a

    person, “has made clear” what name or pronouns should be used. Id.

 300.   Defendants violated the above law because of Plaintiff’s actual or perceived gender and

    sexual orientation in, among other things, how they physically treated Plaintiff, how they

    housed her during her arrest, and in how they referred to and addressed her.

 301.   The City, upon information and belief, lacks the policies and trainings required to prevent

    violations of the kind Plaintiff experienced.

 302.   As a result of Defendants’ acts and omissions, Defendants caused Plaintiff bodily injury,

    pain, suffering, psychological and/or emotional injury, and/or humiliation; caused Plaintiff to

    expend costs and expenses; and/or otherwise damaged and injured Plaintiff.

 303.   Chapter Five of Title 8 of the Administrative Code creates a private right of action for

    violations outlined above. See N.Y.C. Admin. C. § 8-502(a).


                    THIRTEENTH CLAIM FOR RELIEF
    VIOLATIONS OF THE NEW YORK CITY ADMINISTRATIVE CODE’S BAN ON
                        BIAS-BASED PROFILING

 304.   Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

    paragraphs of this Complaint.


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 305.     In relevant part, the New York City Administrative Code provides for a private right of

      action where “one or more law enforcement officers have intentionally engaged in bias-based

      profiling of one or more individual.” N.Y.C. Admin. C. § 14-151(c)(1).

 306.     It also provides a cause of action when certain activities have a disparate impact on certain

      protected groups that Plaintiff belongs to. Id. § 14-151(c)(2).

 307.     The Code defines “bias-based profiling” as “an act of a member of the force of the police

      department or other law enforcement officer that relies on actual or perceived race, national

      origin, color, creed, age, immigration or citizenship status, gender, sexual orientation,

      disability, or housing status as the determinative factor in initiating law enforcement action

      against an individual, rather than an individual's behavior or other information or

      circumstances that links a person or persons to suspected unlawful activity.” § 14-151(a)(1).

 308.     As set out above, Defendants engaged in a manual genital “search” not because of any

      suspected unlawful activity, but in reliance on Plaintiff’s perceived gender and/or sexual

      orientation. 55

 309.     Plaintiff’s perceived gender and/or sexual orientation was the determinative factor in

      Defendants’ choice to violate her genitals.

 310.     Upon information and belief, and as set out above, the NYPD routinely engages in similar

      searches.




  That is, in perceiving a person as trans, people like Defendants often — and on information and belief, did here —
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 make judgments and assumptions about sexual orientation.
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 311.      Upon information and belief, and as set out above, those practices have a profound

    disparate impact on transgender people on the basis of their perceived gender and/or sexual

    orientation.

 312.      Plaintiff is therefore entitled to the relief set out in the administrative code: injunctive and

    declaratory relief, along with reasonable attorneys’ fees and expert fees as part of those

    attorneys’ fees. § 14-151(d)

                                      DEMAND FOR A JURY TRIAL

           Plaintiff hereby demands a jury trial of all issues capable of being determined by a jury.

                                       DEMAND FOR JUDGMENT

           WHEREFORE, Plaintiff demands judgment against the individual Defendants and the

 City of New York as follows:

    i.         Actual and punitive damages against the individual Defendants in an amount to be

               determined at trial;

    ii.        Actual damages in an amount to be determined at trial against the City of New York;

    iii.       Injunctive and declaratory relief, including under the New York City Administrative

               Code;

    iv.        Statutory attorney’s fees, expert fees, disbursements, and costs of the action pursuant

               to, inter alia, 42 U.S.C. §1988, New York State Law, the New York City administrative

               code, and New York common law; and

    v.         Such other relief as the Court deems just and proper.




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 Dated: New York, New York
        October 24, 2022

                                           GIDEON ORION OLIVER



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